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UNITED STATES DISTRICT COURT -
_NORTHERN DISTRICT OF FLORIDA

CIVIL RIGHTS COMPLAINT FORM FOR -
PRO SE, PRISONER LITIGANTS IN ACTIONS UNDER

28 U.S.C. § 1331 or § 1346 or 42 U.S.C. § 1983

RICHARD WILLTAMS

Inmate ID Number:_0- 169535

| (Write the full riame and inmate ID

number of the Plaintiff-)
Case No.: 3 - AZ ovat 2 - TKW >
(To be filled in by the Clerk’s Office) KT C

Ve

SECRETARY, Florida Department Jury Trial Requested?
YES oNO |

ot Corrections Ricky Dixon

ebra Per
(Write the full name of each
- Defendant who is being sued. If the
names of all the Defendants carinot
fit in the space above, please write
“see attached” in. the space and
_ attach an additional page with the
full list of names. Do not include
addresses here.)

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T. Bowden,
Michelle Hall

€.0. C. Johnson
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ao

I PARTIES TO THIS COMPLAINT

A. Plaintiff

Plaintiff's Name:_fichard Williams ID Number:0401535

List all other names by which you have been known: ‘Bick / wolf Paw /

Red Cedar Wolf

Current Institution: Santa Rosa Corcectional Institution

Address: 5350 E. Milton Rd.

Milton, FL 39533 - 7914

B. Defendant(s)

State the name of the Defendant, whether an individual, government agency,
organization, or corporation. For individual Defendants, identify the
person’s official position. or job title, and mailing address. Indicate the
capacity in which the Defendant is being sued. Do this for every Defendant:

1. Defendant's Name: yarious corr. officers within Fla. Dept. of Corr: Ricky Dixon

Official Position: FD.0.C. Correctional Officer: Secretary EDO C

Employed at: _Florida Department of Corrections; Santa Rosa CL.

Mailing Address: 5350 E. Milton Ad L£ Central Office, 504 5. Calhoun Street

Milton, FL. 39583 - 7414 _/ Tallahassee FL 32349

& Sued in Individual Capacity uf Sued in Official Capacity

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B. Defendant (s)

2.Defendant's Name: Ricky Dixon
Official Position: Secretary, F.D.0.C oy
Employed at: Florida Department of Corrections
Mailing Address: Central Office,501 5, Calhoun Street
Tallahassee FL 34394

3. Defendant's Name: Debra Perry
Official Position: Chief Health Officer
Employed at: Florida Department of Corrections _
Mailing Address: Santa Rosa Corr Inst., 5850 E. Millon Rd
Milton, FL 39533 - 7944

4. Defendant’s Name:_T. Bowden
Official Position: Warden _
Employed at: Florida Department of Corrections; Santa Rosa C1.
Mailing Address: Santa Rosa Corr Inst, 5350 E. Milton Rd
Milton, FL 32583 - 7944

5, Defendant's Name: Michelle Hall
Official Position: LSC
Employed at: Florida Departme nt of Corrections; Central Office
Mailing Address: Central Office, 501 5. Calhoun Street
Tallahassee, FL 38399

6 Defendant's Name: €.0. ©. Johnson
Official Position: cocci Officer Leal Mail Handler )
Employed at: _Flori P
Mail ing Address: Santa Rosa Corr. Inst, 6250 E. “Milton ad.
_ Milton FL 32533 - 7944

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Are you bringing suit against (check all that apply):

oO Federal Officials (Bivens case) _& State/Local Officials (§ 1983 case)

Il. PRISONER STATUS
Indicate whether you are a prisoner, detainee, or in another confined status:
oO Pretrial Detainee 0 Civilly Committed Detainee
i Convicted State Prisoner 0 Convicted Federal Prisoner

O Immigration Detainee | 0 Other (explain below):

IV. STATEMENT OF FACTS
Provide a short and plain statement of the facts which show why you are
entitled to relief. Describe how each Defendant was involved and what each
person did, or did not do, in support of your claim. Identify when and where
the events took place, and state how each Defendant caused you harm or
violated federal law. Write each statement in short numbered paragraphs,
limited as far as practicable to a single event or incident. Do not make legal
argument, quote cases, cite to statutes, or reference a memorandum. You
may make copies of the following page if necessary to supply all the facts.

Barring extraordinary circumstances, no more than five (5) additional pages

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should be attached. Facts not related to this same incident or issue must be

addressed in a separate civil rights complaint.

First, Plaintiff notes that around the time that the following events tools olace,all institutional

emedieg had been ar austed, Thenames of the pecoetrators wore recorded in

. - . . ‘ . :
the arievances, however over Time, Plaintiffs memories have faded, The arievance orecess was
J. J

initiated with informal Grievances and escalated ts formal ariewvances tothe Secrotarv ENOG
~~ 7?

At the conclusion of the arievance process dlaintifé ceauesre d that copies of all filed arievances
T . ¢ Tt ~—J 7

and audio! video supporting evidence le filed with the Santa Rosa county state atinonies dice

Acound December, 3018 4p January,d013 this Plaintift arrived at Santa Rosa CLby
: i . . f

transport from Holmes C. 1, after having heen administratively placed on close Management

status, Upon arrival at Santa Rosa CL. while still restrained with the full comolement of

arm, \ed,and waist shachles, Plaintiff slowly shuttled his way, escorted by atatt, to medical,

After inpracessing and allowing his vitals recorded by medical, two male correctional officers”

apoeared 3 cane 2mory out were recorded in Larievances atthe time) fo escort

me-ty my housing assignwent,
~—

Each officer thon Laralah ed oy right and left arms as T shuffled fowards G doom. As we

Q @ 2d riahtoutst entrance, At that point all T can recall is

onoof the officers asking me “Ace youceady?” Then all ota sinkdon the-two dficers lifted ge. up high

- of tot the anound, andthe last thing Lremember is bei 0, forcefully slammed on the concrete at

" NDEL Pro Se 14 (Rev 12/16) Civil Rights Complaint Prisoner :
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Statement of Facts Continued (Page_Q of 4)

which ooint I lost consciousness, When Treasined my senses T was etna dragaed on the
1 ont { —_

floor pa cell, where my shackles were urcere moniously removed, For the raxt three dave Tlay

enthe Hoor, without leing alole to move, My cries were ignored when Plaintiff asked for Medicat stt-

statt would

tray, This is vour last opportunity to gat! When T informed the officer that F couldn't move, the officer

would realy,"Oh,s0 youre va Sing your mal 2 and the officer would ove on, This same scenario ropgat-
editselS for three days, But tine inmate in the cell nextty plaintiff asined ee if T would like him to Ale

opievances of ony banal which Laid. Plaintiff does nat coral the Samaritanc name, however the.

Samaritan brovd)at Plaintiftus to speed on what lad occurred while T was unconscious, After the.

cance of G dorm, Plaintiff was

inti unconscieu:

dcagaed into the sallvaort where the two C.0.s lean stopping and Kiclaing Plaink Ch. ont
r — =

dand | 4 62 aongared and crouched besid Ces donsive wnconscious

ack turned soty Samari ould nts nurse did. T believe thatthy

nurse inected Plaintiff with some sort of Qovclhotropic wdication, because. Plaintiff recoani«

zed the acco Moanyi na sensations and afteceffocts, Plaintift believes tat This was the

exola nation ter lis got heing. ale tp move. And so tho Samaritan filed a avievance oothat as

¢ e medi 4 g accomplices t Ywse criminal acts

cP inhumane torture, denrivation, and starvation, Inthe midst of Plaintiff and Samaritan dis -

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Statement of Facts Continued ( Page 3 of A )

cussinathe of our next acieya trseeemed ci i in @
upset as well, All ¢ the inmates ia hak wing, nlresace Hoe atrocious belnavior ef She C 0, a5

sudo (emains unknown enkocod and kicked Plaintift whi
denly discovered he could move ard tre Feel lina Sensation inhis arms and leas was Cestored, Mlatctiff
immedi stedly notiti sion naet door wb aspired and earievance\

absolutely unrecoani able Plaint agai a Samaritan bette cantition and appear.

Some brain trauma but was s total Ly joe lanored by uedical Andthat was tne suble chot still anther

Apievance, all filed wits the sole gucpose. ot exiraustina administrative comedies.

__Ershould be noted by Unis Court tat T requested “Qonnaritan to identity lnimself as the autor

ot those many aciovances 26 Ino WAS ioektunental | in Coral Lox, and preserving, this horeiFving

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Statement of Facts Continued (Page Hof 4 \

Plaintiff's second issue involves the medical services at Santa Rosa Correctional Institution

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hic \o} led . s\ « ’ la) . Ww 1s j , tio \ ’
has subfeced from a sin ualady winich las een conticmed 40 be directly connected to aac

institution's internal lly recycled water system Yneoud consumption and (bathing which cenueat-

\yresulsin hifi outbreaks rashes and edness daedingas and open sores, i ih conshant

itching. also oteatae And soheay gan years cf torment, which as a Native Bmasican Indian made.

presceilnad TOLNAF TATE nln. thy- cuter necicuns which did Tittle 4p alleviate the syerTas
ae proide Plaiabite {nag lasting, oeliok While at | party C.L_ around May, 2023 T was seen by

sepa nj nak thunder beaut

est da for being an inma CI.

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V. STATEMENT OF CLAIMS

State what rights under the Constitution, laws, or treaties of the United States
have been violated. Be specific. If more than one claim is asserted, number
each separate claim and relate it to the facts alleged in Section IV. If more than

one Defendant is named, indicate which claim is presented against which

Defendant.
. and First
F.D.0.C. Prison staff at Santa Rosa C.T. in 2042-2013 violated Plain Sts Eighth Kron) -

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mock cidhts when thoy used orce “Mali Clously and sadistically for the very Ducpose oF cous og
hac, by slam ning, Plaintiff onthe agewod cenderina lim unconscious: Kicking him viciqusly and rey-
“~ . —? 7 “<<

for scious hwad idcys and stscving’ the

Plaintiff for days: all of which cause irreparable lonakarm mental opin, dovostatiog his spirit,

VI. RELIEF REQUESTED

State briefly what relief you seek from the Court. Do not make legal
arguments or cite to cases/ statutes. If requesting money damages (either

actual or punitive damages), include the amount sought and explain the basis

for the claims.

Piaintiff socks actual and Ounitive Money damages in tha amount of Five million dallans Br

ci

gob living in alplect nd | ;bole sf
in postconviction: the issuance of an indtitutional TPS tablet to enjoy his purchased media which
was Stolen; folre-transfertod to an incentive faci lin, , which provides a better quality of life,

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ATTENTION: The Prison Litigation Reform Act (“PLRA”) does not
permit awards Sor punitive or compensatory damages “for mental or
emotional injury suffered while in custody without a prior showing of
Physical injury or the commission of a sexual act... .”42U.S:C. §

1997e(e).

"VIL EXHAUSTION OF ADMINISTRATIVE REMEDIES
The PLRA requires that prisoners exhaust all available administrative
remedies (grievance procedures) before bringing a case. 42 U.S.C, §
1997e(a). ATTENTION: If you did not exhaust available remedies prior

to filing this case, this case may be dismissed.

VO. PRIOR LITIGATION

ATTENTION: The “three strikes rule” of the PLRA bars a prisoner from
bringing @ case without full payment of the filing fee at the time of case
initiation if the prisoner has “on three or more prior accasions, while
incarcerated or detained in any facility, brought an action or appeal in a

: court of the United States that was dismissed on the grounds that it is

-. frivolous, malicious, or fails to state a claim upon which relief may be
granted, unless the prisoner is under imminent danger of serious physical —
“injury.” 28 U.S.C. § 1915(g).

~ NDFL Pro Se 14 (Rev 12/16) Civil Rights Complaint Prisoner
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A. To the best of your knowledge, have you had any case dismissed fora
reason listed in § 1915(g) which counts as a “strike”?
# YES oNO
If you answered yes, identify the case number, date of dismissal and

court:

1, Date:_March 7.2033 Case #: 3:93-cv~126-MSS-AAS

Court: U.S, District Court, Middle District, Ta Moa Division -

2. Date: Case #:
Court:

3. Date:__ Case #:

- Court:

(If necessary, list additional cases on an attached page)
B. Have you filed other lawsuits in either state or federal court dealing with
the same facts or issue involved in this case?
# YES 0 NO
If you answered yes, identify the case number, parties, date filed, result
(if not still pending), name of judge, and court for each case if more

than one):

1. Case #:9:93-cv-1a0-mss-aasParties: Charlie 3. Crist. et al

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Court: spc. Middle Disk Tampa biv, Judge: Katheun Kimball Mizelle
Date Filed: Sao.49,a093 Dismissal Date (if not pending): March 7,30a3

Reason: Pacsuiage elief in Federal Habeas action/ Failure to state a claim

2. Case #: Parties:

Court: __ Judge:

Date Filed: Dismissal Date (ifnot pending):

Reason:

C. Have you filed any other lawsuit in federal court either challenging your
conviction or otherwise relating to the conditions of your confinement?
YES oNO

If you answered yes, identify all lawsuits:

1. Case #:3:23-cv- op1ao-mss-ans Parties: Charlie Crist et al

Court: US.D.C., Middle Dist Tanta biu Judge: Kathovn Kimball Mizalle
Date Filed:j, n.14,2033_ Dismissal Date (if not pending): March 7,203

Reason: Dismissed Without Poeiudice fopucsue relief in Federal Habeas action

2. Case #: Parties: _

Court: Judge:
Date Filed: ___ Dismissal Date (if not pending):

Reason:

3. Case #: Parties: _

. NDFL Pro Se 14 (Rev 12/16) Civil Rights Complaint Prisoner 1
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Court: _ Judge:

Date Filed: Dismissal Date (if not pending): .

Reason:
4. Case #: Parties:
Court: _ Judge:

Date Filed: Dismissal Date (if not pending):

Reason:
5. Case #: Parties:
Court:_ _: Judge:

Date Filed: Dismissal Date (ifnot pending): _

Reason:
6. Case #: Parties:
Court: Judge: .

Date Filed: Dismissal Date (if not pending):

Reason:

(Attach additional pages as necessary to list all cases. Failure to

disclose all prior cases may result in the dismissal of this case. )

IX. CERTIFICATION
I declare under penalty of. perjury that the foregoing (including all
continuation pages) is true and correct. Additionally, as required by Federal

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Rule of Civil Procedure 11, I certify that to the best of my knowledge,

information, and belief, this complaint: (i) is not being presented for-an

improper purpose, such as to harass, cause unnecessary delay, or needlessly

increase the cost of litigation; (2) is supported by existing law or by a non-

frivolous argument for extending, modifying, or reversing existing law; (3) the

factual contentions have evidentiary support or, will likely have evidentiary

support after a reasonable opportunity for further investigation or discovery;

and (4) the complaint otherwise complies with the requirements of Rule 1.

agree to timely notify the Clerk’s Office if there is any change to my mailing

address. I understand that my failure to keep a current address on file with the

Clerk’s Office may result in the dismissal of my case. -

Date: 20\nva3_Plaintiff’s Signature: 222 eZ

-
y

Printed Name of Plaintiff: Richard Williams

Correctional Institution: Santa Qosa Correctional Institution

Address: 5350 E. Milton Ad,

Milton, FL 39533-7944.

I certify and declare, under penalty of perjury, that this complaint was

(check one) u delivered to prison officials for mailing or o deposited in

12
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3

the prison’s mail system for mailing on the_d0* day of_Novomber ©

20.23...

Signature of Incarcerated Plaintiff: GL

NDFIL Pro Se 14 (Rev 12/16) Civil Rights Complaint Prisoner : :
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TATE OF
meta? Case 2 83 ov-24731-TKW- HERE arene Webcam td3Q/23. Pa @ 24 of 28

Team Number: y

‘ . ' Institution: $RC.T
TO: [-] Warden , wi Classification [] Medical O Dental
(Check One) LJ] Asst. Warden [] Security L} Mental Health [] Other
FROM: Inmate Name DC Number Quarters Job Assignment Date, Nova3
Richard Williams | (69535 C3204 u N/A
REQUEST Check here if this is an informal grievance []
Mc/ Ms, Mills 1,
T intend o on pursuinalecal action via 9 42 U.5.C.§19%% ip 0 ort
—_)
for eroceedion prose ig that T submit a_six-monty statement of by inmate account, whic | loads modo my ycequest T
would like vou ou {0 Send nea printout ot My lost sly. months inmate account activity, Thank You “er \your assistence
inthis matter T have tro-completed fuer ceady to mail. .
However, ic sian ciz On (usually a malor or hidher 5
Poway ay inking tos il ihe best approach woud lb be +s dive that authorized person the. printuof bay

HA heir sionature,
~~

. Sp i by ‘Aval pucpose foquest is ‘hat yu Srward me 3 six-montly Printout of ty inmate account
actly wil 2 also accanojaa Br an authorized otal monlnor 4b sian of F on my HU SC § 1933

Thank you or your assistance inthis matter,
& Byte way, the authorized person connot uses black Ren, tt haste az another color par instructions!

All requests will be handled in one of the following ways: 1) Written Information or 2) Personal Interview. All
informal grievances will be responded to in writing.

Inmate (Signature): 7 /!__-- 2 4 DC#: 161535
co AOL

DO NOT WRITE BELOW THIS LINE
RESPONSE patercervep: NOV 0 7 2023

Chastain Can Sign 1, Noadl 73 gan Dll aad
NYO SYostieat on Wil Sone andl So" Yu motels

[The following pertains to informal grievances only:

Based on. the above information, your grievance is

- (Returned, Denied, or Approved), If your informal grievance is denied,

you have the right to submit a formal grievance in accordance with Chapter 33-103.006, F.A.G) “AN i ‘\
Official (Print Name): \_ AVL Official (Signature): PY KW, Date: \\ \V | ay

Original: Inmate (plus one copy)

CC: Retained by official responding or if the response is to an informal grievance then forward to be placed in inmate’s file
This form is also used to file informal grievances in accordance with Rule 33- 103.005, Florida Administrative Code.

Informal Grievances and Inmate Requests will be responded to within 15 days, following receipt by staff.

You may obtain further administrative review of your complaint by obtaining form DC1-303, Request for Administrative Remedy or Appeal, completing the form as
required by Rule 33-103.006, F.A.C., attaching a copy of your informa! grievance and response, and forwar ding your complaint to the warden or assistant warden no
later than 15 days after the grievance is.responded to. If the 15th day falls on a weekend or holiday, the due date shall be the next regular work day.

DC6-236 (Effective 11/18)
Incorporated by Reference in Rule 33-103.005, F.A.C.

He Case 3:23-cv-24731-TKW-HTC [SféqmORELORIDA 11/30/23 ‘Page 22 of 28

INMATE REQUEST DEPARTMENT OF CORRECTIONS. Mail Number: z
| | G - DA ! l-O2L, * Institution; SCT,
TO: (PY Warden a [] Classification [] Medical DO Dental
(Check One) Asst. Warden [1] Security [J Mental Health [] Other -
FROM! Inmate Name oO DCNumber_ - Quarters Job Assignment | Date.
“| Pichard Williems | 1694535 C2a04u N/A____|_ 40Novas:-
REQUEST _ Check here if this is an informal grievance [V7]
Ihis informal ariewance is being Ri od in accordance witn FAG 33~ 240.108 where T have 9 \eaal
AD mont orenared » Fle D The Cour Stasi OWeVvec, The cael do BT CEQVICE, 3 ax- ments

are aloum EMONT ANd the Slay ! MD. 4
_L Mills is wider We imaression Anat 1 ust ond by yeaa Jocument te he cltces sian
‘mail olrt on psy lnghalt No cule that I am awisre of requires that I celinauish hy 4 USC. tra

omplot nage, Tk wi & my sialit, exce en authorized ese) nail Inacdler.
ina : 2, 8c, $4993 T must be present st avery
¢ honing \oy an authori2 rsonnel ant ty,

sts maing and sealing by nraubnntized vel mail Insndler _
Theretore,2% nis \enal issue is Te sensitive, as rg iof T am requesting Thsk uy oxmodite dic -

proces | Maa Wit and 3 2 C2) oi
an al Hnoris ized cg Tt tb sian ‘he ocoinoat Thanks. -
All requeSts-will be handled‘in one of the following ways: 1) Written Information or 2) Personal Interview. All
informal grievances will be 2e responded to in writing. ”
| Inmate (Sig nature):

DC#: 4695 35

DO NOT WRITE BELOW THIS LINE tet ew RE Ww OF
RESPONSE | DATERECEIVED: NOV J 3 a0 2330 |
(3 n iC an ROx\ Dee Aces oe We dum (ic To teseteerecs so :

Ont isk Yo Btokirac ou eee Ll

ge 4 th \nmot? ah may Wed

[The following pertains to informal grievances only: °

“Based on the above information, your grievance is _ | _ ~Wemurned, Denied, or er If your informal grievance is denied,
‘| you have the right to submit a formal grievance in accordance with Chapter 33-103.006, F.A. Cj

Official (Print Name): LM Official (Signanse)'y MUL | Date: tuts

Original: Inmate (plus one copy)
CC: Retained by official responding or if’ the response is to an informal grievance e then forward to be placed in inmate’ s file

__ This form is also used to file informal grievances-in accordance with Rule 33-103.005, Florida Administrative Code. -

Informal Grievances and Inmate Requests will be responded to within 15 days, following receipt by staff. : ’
You may obtain further administrative review of your'complaint by obtaining form DC1-303, Request for Administrative Remedy or Appeal, completing the form as
required by Rule 33-103.006, F.A.C., attaching a copy of your informal grievance and response, and forwarding your complaint to the warden or assistant warden no
later than 15 days after the grievance is responded to. If the 15th day falls on a weekend or holiday, the due date shall be the next regular work day.

DC6-236 (Effective 11/18)

Incorporated by Reference in Rule 33-103.005, F.A.C.
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NOV 155 2023

PART B - RESPONSE
Department of Corrections.

Bureau of Inmate Grievance Appeals
Reopen
WILLIAMS, RICHARD "4 69535 23-6-33047 SANTA ROSA C.1. C3204U
NAME NUMBER GRIEVANCE LOG CURRENT INMATE LOCATION HOUSING LOCATION
NUMBER ,

Appeal Denied:

Your request for administrative remedy was received at this office and it was carefully evaluated. Records available to
this office were also reviewed.

It is the responsibility of your health care staff to determine the appropriate treatment regimen for the condition you are
experiencing.

It is determined that the response made to you by the Institution on 09/29/2023 appropriately addresses the issues you
presented.

If you have problems with your prescribed medications, then it is your responsibility to access sick call to address it with
the medical.

All inmate self-initiated sick call visits that are determined to be of a non-emergent nature will incur a co-payment
including request for medication and pass renewals (whether they are prescribed or not). A pre-existing or continuing
condition does not carry any relevancy for relief under the Rule. This practice is in keeping with the Florida Statutes.

If you experience problems, sick call is available so that you may present your concerns to your health care staff.

CONFIDENTIAL HEALTH RECORD/CARE INFORMATION INTENDED FOR ADDRESSEE(S) ONLY.
UNAUTHORIZED RELEASE OR DISCLOSURE MAY VIOLATE STATE AND FEDERAL LAW.

Michelle Hall, IISC

/. Gowdéer nico»

SIGNATURE AND TYPED OR PRINTED NAME OF SIGNATURE OF WARDEN, ASST. f Dae
EMPLOYEE RESPONDING WARDEN, OR SECRETARY'S
REPRESENTATIVE

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“pad Ch FLORIDA DEPARTMENT OF CORRECTIONS R E C E iy E Db
REQUEST FOR ADMINISTRATIVE REMEDY OR APPEAL
OCT 18 2023

Departme

nt of Correctio
aT ee COSMAS daweals

Santa Rosa Correctional Institution
: Institution

Part A— Inmate Grievance “ae (- 22 O yy 1

‘This Formal Grievance of a MEDICAL nature is being na ftled | in accordance with EAC. 43-403,009(a): As.a opievance.
APPEAL of a MEDTCAL in accordance with FAC, 93~103,007 (4),(8),(9),(5); EAC. 33- 103,008 (15)(c)

This Formal Grie vance APPEAL ofa MEDICAL nahire stems ftom the FORMAL CRLEVANEE Filed 23 |

Sartacned per FAC. 33-10300

LJ Third Party Grievamce Alleging Sexual Abuse
To: [J Warden ' CJ Assistant Warden wh Secretary, Florida Deps
From or IF Alleging Sexual Abuse, on the behalf of:

Williams Richarcl 469535
Last First Middle Initial DC Number

dl where. L am appealing A sistant Wa on Ricks’ Tindinas rea ina ine callou: MiS-

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dwect contradictionto My MEDICAL file is motivated bi fioancial |Login by charging, Hy inmate account An QO twice for

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Bocta3 . AhLe— 164535
DATE SIG URE .OF GRIEVANT AND D.C. #
“BY SIGNATURE, INMATE AGREES TO THE FOLLOWING ¢ OF 30-DAY EXTENSIONS: . f

. Signature
INSTRUCTIONS “| 7 LH It (I- ‘| It)

. This form Is used for filing a formal grievance: at the Institution or facility lavel as well as for filling appeals to the Office of the Secretary In accordance with Rule 33-103, 006,
Florida Administrative Code. When an appeal is made to the Secretary, a copy of the initial response to the grievance must be attached {except as stated below), > >

- When the Inmate feels that he may be adversely affected by the submission of a grievance at the Institutional tevel because of the nature of the grievance, or Is entitled by
Chapter 33-203 to file a direct grievance he may address his grievance directly to the Secretary's Office. The gri may be feed tim the fh by the 1 and

_brocessed postage free through routine institutional channels. The inmate must indicate a valld ceasen for not Initially bringing his arlevance to the attention of the

Jnstitution. tf tte” iniviaite does net previde 2 valid reason or if the Seeratary or fils designated representative determines that the reason n supplied is not adequate, the
grievance will be returned to the Inmate for processing at the Institutional level pursuant to F.A.C. 33-103.007 (6)(d).

Receldt for Auneals Belng Fonvarded to Central Office

Submitted by the Inmate on:. . Institutional Mailing Log &: V \q2 2 we \¢ \9- On“
; (Received By)
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DISTRIBUTOR: INSTIFUTION/FACHLITY CENTRAL OFFICE

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INSTITUTIONAL GRIEVANCE FILE CENTRAL OFFICE INMATE FILE

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‘DCi- 5 (FTES DT a incorporated by Reference im Rule 33-103.006, F.A.C.
aS Case 3:23-cv-24731-TKW-HTC Document 1 Filed 11/30/23 Page 25 of 28 at
' FLORIDA DEPARTMENT OF CORRECTIONS

REQUEST FOR ADMINISTRATIVE REMEDY OR APPEAL
(J) Third Party Grievance Alleging Sexual Abuse

TO: Warden _——_ [[] Assistant Warden (CJ Secretary, Florida Department of Corrections
From or IF Alleging Sexual Abuse, on the behalf of:

ichare! . {09535 i
Last First Middle Initial — DC Number Institution
PartA=In ate G ce LS _ -|F |
—_ Fa AsionatsGieance 7-11 1]
Tris FORMAL GRIEVANCE of a medical nahure Isbeing tiled in accordance with FAC. _-33- 103.003; 33 - 103,009 (15):
and 22" 15,0061 5) \6) where this complaint involves Santa Ross ’s resicent phusician’s blatant and ca ous disregard 4
a follow physician's educated andl medically sound diagnosis and prescription of TREAMCTNOLONE ACETONIDE OINTMENT |

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Many years, wilhoutapaat

95 Sep 23 Jha 169525
DATE ATURE OF GRIEVANT AND D.C. #

*BY SIGNATURE, INMATE AGREES TO THE FOLLOWING # OF 30-DAY EXTENSIONS:

#- - + Signature

This form ts used for filing a formal grievance at the institution or facility tevel as well as for fillng appeals to the Office of the Secretary in accordance with Rule 33-103.006,
Florida Administrative Code. When an appeal is marie to.the Secretary,.a copy.of the Ialtial response to the grievance must be attached (except as stated below)--——=—————~

When the Inmate feels that he may be adversely affected by the submission of a
Chapter 33-103 to file a direct grievance he may address his grievance directly to the Secretary's Office. The
processed postage freé through routine Institutional channels. The inmate must Indicate. valid reacon for.
‘institution, If the inmate does not provide a valid reason or Ift y or his te é ed Is not adequate, the
gilevance will te returned to the inmate for processing at the institutional lever parstiant t6 F-A.C, 33-103.007 (6d). . —

Submitted by the Inmate on: Institutional Matling Log #:
Lo (Date) (Received By)
CENTRAL OFFICE
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. . INMAT®2’S FILE - INSTITUTION /FACILITY
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CENTRAL OFFICE GRIEVANCE FILE
Incorporated by Reference in Rule 33-103.006, F.A.C. Nb.

Case 3:23-cv-24731-TKW-HTC. Document 1 Filed 11/30/23 Page 26 of 28

PART B - RESPONSE

WILLIAMS, RICHARD 169535 2309-119-191 SANTAROSACLL. G2219U
NAME NUMBER FORMAL GRIEVANCE CURRENT INMATE LOCATION HOUSING LOCATION
LOG NUMBER

THIS DOCUMENT MAY CONTAIN CONFIDENTIAL HEALTH RECORD/CARE INFORMATION INTENDED FOR THE
ADDRESSEE ONLY. UNAUTHORIZED RELEASE OR DISCLOSURE MAY VIOLATE STATE AND FEDERAL LAW. -

YOUR REQUEST FOR ADMINISTRATIVE REMEDY OR APPEAL HAS BEEN RECEIVED, REVIEWED AND
EVALUATED.

1

IN YOUR REQUEST FOR ADMINISTRATIVE REMEDY OR APPEAL, YOU GRIEVE MEDICAL.

PLEASE BE ADVISED, INMATES DO NOT DICTATE TREATMENT. TREATMENT IS AT THE SOLE DISCRETION
OF THE PROVIDER. ALL INMATE INITIATED SICK CALLS DEEMED NON-EMERGENT IS CHARGED A $5.00

COPAY. COPAYMENT IS CORRECT. IF YOU ARE HAVING ANY OTHER MEDICAL CONCERNS UTILIZE SICK
CALL. :

BASED ON THE ABOVE INFORMATION, YOUR FORMAL GRIEVANCE IS DENIED.

TO RECEIVE FURTHER ADMINISTRATIVE REVIEW OF YOUR COMPLAINT, YOU MUST OBTAIN FORM DC1-303, .
REQUEST FOR ADMINISTRATIVE REMEDY OR APPEAL, COMPLETE THE FORM, PROVIDING ATTACHMENTS
AS REQUIRED, AND SUBMIT THE FORM TO THE BUREAU OF INMATE GRIEVANCE APPEALS, 501 SOUTH

CALHOUN STREET, TALLAHASSEE, FLORIDA, 32399 WITHIN THE TIME FRAMES SPECIFIED IN CHAPTER 33-~
103. -

C. RICKS, AWP
ASN Alaxlas “-) 9 ha /23
| / f
SIGNATURE ANDTYPECLORPRINTED NAME OF SIGNATURE OF WARDEN, ASST. DATE
EMPLOYEE RESPONDING WARDEN, OR SECRETARY'S
REPRESENTATIVE
Debra Perry, MD OCT 9 2 2023

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Case 3:23-cv-24731-TKW-HTC.
Richard Wiltane sbC

Santa Rosa Cor:
5850 E. Milton

MAILED FROM A STATE
CORRECTIONAL INSTITUTION.

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